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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


                                                  )
    UNITED STATES OF AMERICA                      )
                                                  )
                      v.                          )        Criminal No. 17-201 (ABJ)
                                                  )
    PAUL J. MANAFORT, JR.,                        )
                                                  )
                           Defendant.             )
                                                  )

                 DEFENDANT PAUL J. MANAFORT JR.’S MEMORANDUM
                  ADDRESSING ATTORNEY CLIENT PRIVILEGE ISSUES

          Defendant Paul J. Manafort, Jr., by and through counsel, files this memorandum addressing

attorney client privilege issues in connection with both his motion in limine relating to evidence

protected by the attorney client privilege and the government’s request for authorization to certain

review communications.

          1. Introduction

          On October 2, 2017, the Chief Judge supervising the grand jury investigation of this matter

issued an order requiring Mr. Manafort’s attorney to provide testimony in response to a grand jury

subpoena and to answer a series of questions propounded by the Office of Special Counsel (“the

Special Counsel”). See In re Grand Jury Investigation, No. 17-mc-2336 (Oct. 2, 2017).1 After an

ex parte showing by the government and a series of hearings in which the government, counsel for

the privilege holders, and counsel for the witness participated, the Court ruled that the crime fraud

exception applied to the information sought by the Special Counsel’s questions. The Court further

found that Mr. Manafort impliedly waived the privilege and that the crime fraud exception



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    References to the Court’s October 2, 2017 ruling are cited: Order, at __.
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overcame any applicable work product protection. Shortly thereafter, on October 27, 2017, the

grand jury investigating this matter returned an indictment that led to this litigation.

       On August 8, 2018, the Special Counsel filed a motion asking this Court to authorize

release of potentially privileged communications between Mr. Manafort and the attorney. The

subject communications were obtained through the execution of a search warrant, dated June 21,

2017, on the premises of Rackspace US, Inc. in New York.                In seeking release of these

communications, the Special Counsel relies on the October 2, 2017 ruling and argues that its

rationale should govern the request.

       On September 5, 2018, this Court asked counsel to address the question of whether the

October 2, 2017 ruling was law of the case and, to the extent that it was not, what standards govern

this Court’s consideration of the attorney client privilege issues.

       2. Applicable Law and Argument

           a. The Prior Decision

       At the outset, Mr. Manafort addresses the October 2, 2017 opinion and its relationship to

the determination of the issues raised by his motion in limine and the government’s motion for

authorization. Generally, the law of the case doctrine provides that a court will not disturb prior

rulings on issues determined in the same case. However, “[a] subpoena enforcement issue is

technically a different case” and has no law of the case effect in later litigation.2 In re Subpoena

Duces Tecum Issued to the Commodity Futures Trading Commission WD Energy Services, Inc.,

439 F.2d 740, 749 (D.C. Cir. 2006). As a result, the doctrine does not apply here.



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        The government argues that issue preclusion should bar re-litigation of the issues raised
here. (Doc. 407). Mr. Manafort suggests issue preclusion does not apply here. Mr. Manafort’s
opportunity to litigate the issues during the grand jury phase of the case was limited by the ex parte
nature of those proceedings. As a result, the application of issue preclusion would work a
substantial unfairness on this ability to protect his rights and the attorney client privilege.
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       Mr. Manafort further notes that this Court is not required to defer to the prior ruling. This

Court’s consideration of this issue is not a review of the prior decision but, instead, a fresh look at

this issue as it relates to the admissibility of the evidence at trial. Importantly, the prior ruling

determined the grand jury’s ability to obtain the evidence, but did not resolve trial admissibility.

       To date, the government has not proffered what the anticipated testimony of the attorney

will be and whether it will be limited to those questions authorized by the October 2, 2017 ruling.

Moreover, the prior ruling was circumscribed to allow the witness to address a series of narrowly

drawn questions. As a result, in seeking authorization to provide the trial team with additional

communications, the Special Counsel’s request goes beyond any issue addressed by the prior

ruling. The prior ruling was limited to the statements made in a series of letters sent by the attorney

to the U.S. Department of Justice’s FARA unit and to determining the source of those statements.

It did not address access to any other documents or written communications from client to attorney.

See Order at 26.

       Finally, the prior ruling addressing the application of the crime fraud exception as a global

matter and made no attempt to distinguish between the activities of Mr. Gates and those of Mr.

Manafort. For purposes of the issues presented here, Mr. Manafort suggests this Court’s review

necessarily must relate to evidence of his knowledge of the alleged crime/fraud upon which the

exception argument is grounded.

           b. The Crime Fraud Exception

       Mr. Manafort contends that the crime fraud exception does not apply to his

communications with his attorney in this matter.         Significantly, the facts proffered by the

government in support of its showing during the grand jury phase of the case did not make the

necessary showing as to Mr. Manafort. Indeed, a review of the evidence provided reveals that: (1)



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the witness statement recounted details of a meeting that Mr. Manafort did not attend; and (2) the

36 exhibits summarized and attached included only two or three in which Mr. Manafort was

referenced or on which he was copied.

       In order to use the testimony of his attorney against him at trial, the government must make

a specific showing of Mr. Manafort’s involvement in a crime or fraud and his use of his attorney

to further that crime or fraud. In re Grand Jury, 475 F.3d 1299, 1305 (D.C. Cir. 2007). The prior

factual showing may have met this standard for Mr. Gates, but it does not stand up to scrutiny

where Mr. Manafort is concerned.

       Mr. Manafort asks this Court to undertake its own review of the proffered information and

to determine whether the information meets the required burden without deference to, or reliance

upon, the prior ruling.     Moreover, because the October 2, 2017 Order did not address

communications from client to attorney or related documents, the government must make the same

showing with regard to the communications its seek authorization to review.

       WHEREFORE, defendant respectfully asks the Court to preclude the introduction of

testimony of his attorney at trial and to deny the government authorization to review the additional

communications.



Dated: September 10, 2018                            Respectfully submitted,

                                                      /s/
                                                     Kevin M. Downing
                                                     (D.C. Bar No. 1013984)
                                                     Law Office of Kevin M. Downing
                                                     601 New Jersey Avenue NW, Suite 620
                                                     Washington, DC 20001
                                                     (202) 754-1992
                                                     kevindowning@kdowninglaw.com




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                                    /s/
                                  Thomas E. Zehnle
                                  (D.C. Bar No. 415556)
                                  Law Office of Thomas E. Zehnle
                                  601 New Jersey Avenue NW, Suite 620
                                  Washington, DC 20001
                                  (202) 368-4668
                                  tezehnle@gmail.com

                                   /s/
                                  Richard W. Westling
                                  (D.C. Bar No. 990496)
                                  Epstein Becker & Green, P.C.
                                  1227 25th Street, N.W.
                                  Washington, DC 20037
                                  Tel: 202-861-1868
                                  Fax: 202-296-2882
                                  Email: rwestling@ebglaw.com

                                  Counsel for Defendant Paul J. Manafort, Jr.




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